UNITED STATES DISTRICT COURT
SOU'I`HERN DISTRICT OF OHI()
EASTERN DIVISION

ANTHONY WILLIAMS, et al.
Case N0. 1:08-cv-00046

Plaintiffs, CHIEF JUDGE EDMUND A. SARGUS, JR.
Magistrate Judge Norah McCann King

V.

DUKE ENERGY INTERNATIONAL,
INC., et al.,

Defendants.
OPINION AND ORDER GRANTING FINAL APPROVAL OF CLASS ACTION

SETTLEMENT AND GRANTING MOTION F()R ATTORNEYS’ FEES,
REIMBURSEMENT OF EXPENSES, AND INCENTIVE AWARDS

This matter came before the Court for hearing pursuant to the Court’s October 21, 2015
Order Granting Prelirninary Approval of Class Action Settlernent, Approving Form and Manner
of Notice and Setting Date for Settiement Fairness Hearing (“Preliminary Approval Order”)
(ECF No. 247) , on the application ofPlaintiffs Anthony Williarns, BGR, lnc., Munafo, lnc., and
Aikido of Cincinnati (“Lead Plaintiffs” or "Class Representatives”) and the Class of Plaintiffs
they represent (collectively, “Plaintiffs”) for approval of the settlement (“Settlement”) set forth
in the Stipulation of Class Action Settlement dated October 21, 2015 (“Stipulation”, ECF No.
246-1) entered into with Defendants Duke Energy International, lnc. and Duke Energy Ohio, lnc.
(collectively “Defendants”). This Court held a fairness hearing on April 19, 2016 to consider
whether the Settlement was fair, reasonable, and adequate, and to determine the reasonableness
of Plaintiffs’ Counsel’S attorneys’ fee and litigation expenses, and incentive awards for the four
Class Representatives. Having considered all papers filed and proceedings held herein, including

this Court’s findings at the fairness hearingJ and having received declarations attesting to the

publication of the Notice, and good cause appearing therefore,

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:

l. This Order incorporates by reference the definitions in the Stipulation and all
terms used herein Shall have the same meaning as set forth in the Stipulation unless set forth
differently herein. The terms of the Stipulation are fully incorporated in this Order as if set forth
herein.

2. The Court has jurisdiction over the subject matter of the Settlement and all parties
in this matter, the Stipulation and Settlement.

3. The Court finds that due and adequate notice was given in early 2016 to the
potential class members of their right to be excluded from the Class The Court further finds that
because all potential class members previously received the Court-approved class certification
notice and were afforded the opportunity to be excluded from the Class, the parties need not
provide potential class members a second opportunity to be excluded from the Class.

4. The Court finds that due and adequate notice was given of the Settlement, the
Plan of Allocation of the Settlement proceeds, Plaintiffs’ Counsel`s request for attorneys’ fees
and reimbursement of litigation expenses, incentive awards for the Class Representatives, and
that the forms and methods for providing such notice to the Class:

a. constituted the best notice practicable under the circumstances, including
individual notice to all Class Mernbers who could be identified through reasonable effort',

b. was reasonably calculated, under the circumstances, to apprise Settlement
Class l\/Iembers of: (i) their right to object to any aspect of the proposed Settlernent, including the
terms of the Stipulation and the Plan of Allocation; (ii) their right to appear at the Settlement

Fairness Hearing, either on their own or through counsel hired at their own expenseJ if they were
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not excluded from the Class; (iii) their right to rejoin the Class if they had previously requested
exclusion from the Class; (iv) the amount of attorneys’ fees, litigation expenses. and Class
Representative incentive awards requested in the Settlement; and (v) the binding effect of the
proceedings, rulings, orders and judgment in this Action, whether favorable or unfavorable, on
all persons who are not excluded from the Class;

c. was reasonable and constituted due, adequate, and sufficient notice to all
persons entitled to be provided with such notice; and,

d. fully satisfied all the applicable requirements under Fed. R. Civ. P. 23, due
process, and all other applicable laws.

5. The Class excludes those persons or entities who timely and validly lfiled a
request for exclusion from the Class under the Court-approved notice sent to the Class in early
2016. Those persons or entities previously requesting exclusion have had the opportunity to
rejoin the Settlement. Persons or entities who timely filed complete and valid requests for
exclusion from the Class and who have not availed themselves of the opportunity to opt back
into the Class are not bound by this Order or the terms of the Stipulaticn, and may pursue their
own individual remedies against Defendants, to the extent they have standing to do so. Such
persons or entities are not entitled to any rights or benefits provided to the Class Members under
the Stipulation.

6. Under Fed. R. Civ. P. 23(e), this Court hereby approves the Settlement set forth in
the Stipulation and finds that the Settlement is, in all respects, fair, reasonable, and adequate to,
and is in the best interests of, Plaintiffs. Accordingly, the Settlement embodied in the Stipulation

is approved in all respects and shall be consummated in accordance with its terms and

conditions Plaintiffs and Defendants are hereby directed to perform the terms of the Stipulation,
and the Clerk of the Court is directed to enter and docket this judgment in this action.

7. This Court hereby approves the Plan of Allocation as set forth in the Notice as fair
and equitable The Court directs Piaintiffs’ Counsel and Garden City Group (“GCG”), the claims
administrator, to proceed with processing Claims and the administration of the Settlement under
the terms of the Stipulation and Plan of Allocation and, upon completion of the claim processing
procedure, to present to this Court a proposed final distribution order for the distribution of the
remaining Settlement funds, as provided in the Stipulation and Plan of Allocation.

8. This Court, having considered Plaintiffs’ Counsel’s l\/lotion for An Award of
Attorneys’ Fees, Reimbursement of Litigation Expenses, and Approval of Incentive Awards,
hereby concludes that:

a. Plaintiffs’ Counsel’s requested fee award equal to 24%, or
$l9,237,122.76, of the Settlement Surn (including interest accrued thereon) after litigation
expenses incurred prior to preliminary approval have been deducted, is fair and reasonable;

b. Plaintiffs’ Counsel’s requested reimbursement of litigation expenses of
$720,321.83, with interest accrued thereon, is fair and reasonable, and that the litigation expenses
Plaintiffs’ Counsel incurred prior to preliminary approval, including the costs of experts, were
reasonable and necessary in the prosecution of this Action on behalf of the Class;

c. the incentive awards proposed of 320,000 for each Class Representative,
for a total of $80,000 for all four Class Representatives combined, is fair and reasonable, and
necessary to compensate the Class Representatives for their time and effort and the risk they

undertook in pursuing this Action.

The Court-approved attorneys’ fees and expenses reimbursed above shall be paid to Plaintiffs’
Counsel as provided in the Stipulation for allocation to Plaintiffs’ Counsel. The 24% fee award
will also cover the additional time Plaintiffs’ Counsel will spend on the administration of the
Settlement

9. All payment of attorneys’ fees and reimbursement of expenses to Plaintiffs’
Counsel in this Action shall be made payable in the form and manner as stated in the Stipulation.

10. Plaintiffs’ Counsel may petition this Court for additional expenses as necessary as
work is performed in carrying out the Administration of the Settlement, including notice and
claims administration expenses of GCG.

l l. Two individuals objected to the settlement, l\/lr. Ference and l\/[r. Hagadom. The
Objections were heard on the merits at the fairness hearing, despite procedural deficiencies
Both lacked merit, and were overruled

a. Mr. Ference objected that the settlement amount does not include de minimus
claims of 310.00 or less in value. As the Court stated in the hearing, courts have held that it is
reasonable to establish de minimus claim levels to prevent excessive expenditures on
administrative fees. Furthermore, the cy pres argument is inapposite in this case, as is the
argument that any funds allocated to the Community Benefit Fund should not exceed the benefits
to the residential and non-residential class members (they do not),
b. l\/lr. Hagadorn objected to the Comrnunity Benefit Fund as unfair to retail

ratepayers, and expressed his feeling that it will operate as a “super- legislature.” The Court
heard testimony that the Community Benefit Fund will provide a benefit to individuals in the

community affected. Because this case has been in litigation for more than seven years,

individuals may have moved or died or become unable to perfect a claim. The purpose of the
Community Benefit Fund is reasonable

12. Defendants are hereby released and forever discharged from any and all of the
Settled Class Claims and Released Claims. All Class Members are hereby forever barred and
enjoined from asserting, instituting or prosecuting, directly or indirectly, any of the Settled Class
Claims in any court or other forum against any of the Released Parties, regardless of whether or
not such Class Member executes a Claim Form. All Class l\/lembers are bound by the Stipulation
and hereby are forever barred and enjoined from taking any action in violation of the Stipulation.

13. Tlie Court hereby dismisses with prejudice this Action and all of Plaintiffs’ claims
against Defendants. Plaintiffs and Defendants shall bear their own fees and costs.

14. Neither the Stipulation nor the Settlement contained therein, nor any act
performed or document executed under or in furtherance of the Stipulation or the Settlement: (a)
is or may be deemed or may be used as an admission of, or evidence of, the validity of any of
Plaintiffs’ claims against Defendants; or (b) is or may be deemed to be or may be used as an
admission of, or evidence of, any fault or omission of any of the Defendants in any civii,
criminal, or administrative proceeding in any court, administrative agency, or other tribunal; or
(c) is admissible in any proceeding except an action to enforce or interpret the terms of the
Stipulation, the Settlement contained therein, and any other documents executed in connection
with the performance of the agreement embodied therein. Defendants may file the Stipulation
and/or this Order in any action that may be brought against them in order to support a defense or
counterclaim based on the principles of res judicata, collateral estoppel, full faith and credit,
release, good faith settlement, judgment bar or reduction, or any other theory of claim preclusion

or issue preclusion or similar defense or counterclaim
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15. Without affecting the finality of this Order in any way, this Court hereby reserves
and retains continuing jurisdiction over: (a) implementation and enforcement of any award or
distribution from the Settlement Fund; (b) disposition of the Settlement Fund; (c) payment of
taxes by the Settlement Fund; and, (d) any other matters related to finalizing the Settlement and
distribution of the proceeds of the Settlement

l6. Neither appellate review, nor modification of the Plan of Allocation set forth in
the Stipulation and Notice, nor any action in regard to the award of Plaintiffs’ Counsel’s
attorneys’ fees and reimbursement of litigation expenses or incentive awards to Class
Representatives, shall affect the finality of any other portion of this Order, nor delay the Effective
Date of the Stipulation, and each shall be considered separate for the purposes of appellate
review of this Order.

l7. In the event that the Settlement does not become Final in accordance with the
terms of the Stipulation or the Effective Date does not occur, then this Order shall be rendered
null and void to the extent provided by and in accordance with the Stipulation and shall be
vacated and, in such eventj all orders entered and releases delivered in connection herewith shall
be null and void to the extent provided by and in accordance with the Stipulation.

18. This Order applies to all claims asserted in this Action. This Court tinds, for
purposes of Fed. R. Civ. P. 54(b), that there is no just reason for delay and expressly directs entry

of judgment as set forth herein.

Accordingly, the Court GRANTS the motion for final approval of the class action
settlement (ECF No. 251) and the motion to approve attorneys’ fees, reimbursement of litigation

expenses, and incentive awards (ECF No. 252).

IT IS SO ORDERED.

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I)A'rs EDMUN sARGUs, JR.
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